

Matter of Robert P., Jr. (Robert P., Sr.) (2023 NY Slip Op 04887)





Matter of Robert P., Jr. (Robert P., Sr.)


2023 NY Slip Op 04887


Decided on September 29, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., BANNISTER, MONTOUR, AND GREENWOOD, JJ.


733 CAF 22-01042

[*1]IN THE MATTER OF ROBERT P., JR. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; ROBERT P., SR., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






CAITLIN M. CONNELLY, BUFFALO, FOR RESPONDENT-APPELLANT.
REBECCA HOFFMAN, BUFFALO, FOR PETITIONER-RESPONDENT. 
JENNIFER Z. BLACKHALL, CHEEKTOWAGA, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Kelly A. Brinkworth, J.), entered May 9, 2022, in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, adjudged that respondent permanently neglected the subject child and transferred respondent's guardianship and custody rights with respect to the subject child to petitioner. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the February 25, 2022 decision at Family Court.
Entered: September 29, 2023
Ann Dillon Flynn
Clerk of the Court








